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EXHIBIT D
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Brenner, Wendy

From: Anna Levine [alevine@dralegal.org]

Sent: Thursday, June 10, 2010 1:38 PM

To: Brenner, Wendy

Subject: Enyart Preliminary Injunction Proposed Order
Attachments: HN-#859740-v2-Draft_Order_Language_(2nd_PI).AL2.DOC
Dear Wendy,

Attached are my proposed revisions to the preliminary injunction order that you previously circulated.
| made a few changes to add provisions from the June 4, 2010 minute order of the court, and to better
correspond the MPRE and MBE sections.

Let me know if you have any questions. | need to leave at 3pm today, but am available by telephone
before that time, as well as all day tomorrow.

Thanks,

Anna

Anna Levine, Staff Attorney
Disability Rights Advocates

2001 Center Street, Third Floor
Berkeley, California 94704-1204

510 665 8644 (Tel)
510 665 8716 (TTY)
510 665 8511 (Fax)

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1. With respect to the August 2010 administration of the Multistate Professional
Responsibility Examination (MPRE), NCBE shall provide ACT with the MPRE ;-#144-peimt
A+rtaltent-loaded onto a laptop computer equipped with JAWS and ZoomText software, with the
examination qvestiens-displayed in 14-point Arial font. NCBE shall also direct ACT to provide
Ms. Enyart with the following accommodations on the August 2010 administration of the
MPRE:

(a) Double the standard time;

(b) A private room;

(c) One five minute break every hour;
(d) A scribe to fill in the answers.

NCBE shall deliver the laptop computer to ACT no less than two (2) days prior to the
administration of the examination, and request ACT to provide Ms. Enyart with access to the
laptop twenty-four (24) hours before the examination to attach her peripherals-and-, customize
the JAWS and ZoomText settings, and test the equipment prior to the day the examination is to
be taken-. ACT shall be responsible for custody of, and access to, the laptop once it is delivered
to ACT. In the event of any problem with ACT in connection with this order, counsel are to
notify the court one week prior to the day of the examination.

Additionally, NCBE shall direct ACT to permit Ms. Enyart to use all of the following during the
examination-MPRE as accommodations, all of which shall be brought to the examination by Ms.
Enyart:

(c) An ergonomic keyboard;

(f) A trackball mouse;

(g) A large monitor;

(h) Her own lamp to control lighting conditions;
(i) Sunglasses;

Gj) A yoga mat;

(k) Large print digital clock;

(1) Migraine medication,

The ergonomic keyboard, trackball mouse, and monitor shall be devoid of any storage devices or
storage mechanisms and NCBE does not guarantee the interoperability of such devices with the
computer it provides. The examination-MPRE shall be administered by ACT with the above
accommodations pursuant to the Stipulation Re: Voluntary Dismissal Without Prejudice of
Defendant ACT, Inc.;_ filed with the Court on November 25, 2009.

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2. With respect to the July 2010 administration of the California Bar exam, NCBE shall
provide the State Bar of California, Committee of Bar Examiners (the “State Bar”) with the
Multistate Bar Examination (MBE);in-+4-peint Arial font, loaded onto a laptop computer
equipped with JAWS and ZoomText software furnished by NCBE, with the examination
questions-displayed in 14-point Arial font. NCBE shall deliver the laptop computer to the State
Bar no less than two (2) days prior to the administration of the examinationMBE, and request the
State Bar to provide Ms. Enyart with access to the laptop twenty-four (24) hours before the
examination to attach her peripherals, customize the JAWS and ZoomText settings, and test the
equipment prior to the day the examination is to be taken. The State Bar shall be responsible for
custody of, and access to, the laptop once it is delivered to the State Bar. Decisions with respect
to the administration of the examination shall rest with the State Bar. The MBE shall be
administered by the State Bar with the above accommodations pursuant to the Stipulation
Regarding Dismissal Without Prejudice of Defendant State Bar of California; Order Thereon
filed with the Court on December 9, 2009.

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